Case No. 1:15-cv-01093-KMT Document 17-1 filed 05/28/15 USDC Colorado pg1of21

EXHIBIT 1

Colorado State Court Complaint
Case No. 1:15-cv-01093-KMT Document 17-1 filed 05/28/15 USDC Colorado pg 2 of 21

District Court, City and County of Denver, Colorado
Court Address:

1437 Bannock St., Room 256

Denver, CO 80202

Plaintiff(s): Q ADVISORS, LLC

V.
Defendant(s): MERGENCE CORPORATION and JASON S, ELLIS *%  couRTUSEONLY ™
Attorney or Party Without Atiorney (Name and Address): Case Number:

John S. Phillips (Atty. Reg. #24884)

Sean C. Grimsley (Atty. Reg. #36422)
Bartiit Beck Herman Palenchar & Scott LLP
1899 Wynkoop Street, 8" Floor Division Courtroom
Denver, Colorado 80202

Phone Number: 303-592-3100
FAX Number: 303-892-3140

E-mail: john.philllps@bartlit-beck.com
sean.grimsiey@bartlit-beck.com
DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF COMPLAINT,
COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT

1. This cover sheet shail be filed with each pleading containing an Initial claim for relief in every district
court clvil (CV) case, and shall be served on all parties along with the pleading. It shall not be filed in
Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental Health (MiH} cases.
Failure to file this cover sheet ls not a jurisdictional defect in the pleading but may result in a clerk's show
cause order requiring Its filing.

2. Check one of the following:

YI This case is governed by Chief Justice Directive ("CJD") 11-02 and the “Colorado Civil Access Pilot Project
Rules Applicable to Business Actions In District Court’ because:

- The case is filed within the pericd of January 1, 2012 through June 30, 2015; AND

~ The case Is filed in a Pilot Project participating jurisdiction (Adams County, Arapahoe County,
Denver County, Gilpin County, or Jefferson County); AND

- The case !s a “Business Action” as defined In CUD 11-02, Amended Appendix A for inclusion In the
Pilot Project,

C] This case is not governed by the Colorado Civil Access Pilot Project Rules.

NOTE: Cases subject to the Colorado Civil Access Pilot Project must be governed by the Rules In CJD
11-02 (available at htte./Avww. courts, state. oo. us/Courts/Supreme Court/Directives/Index.ctm). The presiding
judge will review item 2 for accuracy. The designation on this initial Cover Sheet will contro! unless the Court
orders otherwise,

3. If this case is not governed by the Colorado Civil Access Pliot Project Rules as Indicated in Item 2,
check the following:

JDF 601 R8-14 DISTRICT COURT CIVIL (CV) CASE COVER SHEET Page 1 of 2
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Case No. 1:15-cv-01093-KMT Document 17-1 filed 05/28/15 USDC Colorado pg 3 of 21

C] This case is governed by C.R.C.P. 16,1 because:

~ The case is not a class action, domestic relations case, juvenile case, mental health case,
probate case, water law case, forcible entry and detainer, C.R.C.P. 106, C.R.C.P. 120, or other
similar expedited proceeding; AND

- A monetary judgment over $100,000 Is not sought by any party against any other single party,
This amount includes attorney fees, penalties, and punitive damages; it excludes interest and
costs, as well as the value of any equitable relief sought.

C This case Is not governed by C.R.C.P, 16,1 because (check ALL boxes that apply):

Ci the case is a class action, domestic relations case, juvenile case, mental health case, probate
case, water law case, forcible entry and detainer, C.R.C.P. 106, C.R.C.P, 120, or other similar
expedited proceeding.

GA monetary judgment over $100,000 is sought by any party against any other single party.
This amount includes attorney fees, penalties, and punitive damages: it excludes interest and
costs, as well as the value of any equitable relief sought.

NOTE: In any case to which C.R.C,P, 16.1 does not apply, the parties may elect to use the simplified
procedure by separately filing a Stipulation to be governed by the rule within 49 days cf the at-issue date.
See C.R.0.P, 16.1(4). In any case to which C.R.C.P. 16.1 applies, the parties may opt out of the rule by
separately fifing a Notice to Elect Exclusion (JDF 602) within 35 days of the at-issue date. Sea CR.C.P.
16.1(d).

Cla Stipulation or Notice with respect to C.R.C.P, 16.1 has been separately filed with the Court, indicating:
CIC.R.C.P. 16.4 applies to this case.
Q1c.R.C.P. 16.1 does not apply to this case.

4. Wthis party makes a Jury Demand at this time and pays the requisite fee, See C.R.C.P. 38. (Checking this
box is optional.)

*
4

C Sipnature of Party or Attorney for Party

Date: March 17, 2015

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DISTRICT COURT

CITY AND COUNTY OF DENVER, COLORADO
Denver City & County Building

Clerk of the Court, Civil Division

1437 Bannock St, Room 256

Denver, CO 80202

Plaintiff, Q ADVISORS LLC

Vv.
Defendants: MERGENCE CORPORATION and 4 COURT USE ONLY 4
JASON S, ELLIS

John S. Phillips #24884
Sean C. Grimsley #36422

Case Number;

BARTLIT BECK HERMAN PALENCHAR &
SCOTT LLP

1899 Wynkoop Street, 8" Floor

Denver, CO 80202

Diva Ctrm:

Telephone Number: (303) 592-3100

Facsimile Number: (303) 592-3140

Email: john phillips@bartlit-beck.com
sean grimsley@bartlit-beck,com

COMPLAINT

Plaintiff Q Advisors LLC (“Q Advisors”), for its Complaint against Mergence
Corporation (“Mergence”) and Jason S. Ellis (“Ellis”), states as follows:
Parties
L, Q Advisors is a Colorado limited liability company headquartered in the City and
County of Denver, Colorado, Q Advisors is an investment bank that specializes in assisting
companies with business transactions such as mergers and acquisitions, debt and equity

financings, and recapitalizations.
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2, Mergence is a Nevada corporation headquartered in Salt Lake City, Utah at 3939
South Wasatch Boulevard, Mergence was formed on August 2, 2005 to provide “technical
products and services offered in both retail and wholesale markets.” Until November 2013,
Mergence directly or indirectly owned Spring Communications, Inc., which was known and did
business variously as “Spring,” “Spring Mobile,” “Spring Retail Group,” and “Spring
Communications Holding.” Mergence referred to these Spring entities and its Spring Mobile
business “Spring Retai! Group.” Mergence also itself did business as “Spring Retail Group” at
the same business address as the Spring entities at 3939 South Wasatch Boulevard in Salt Lake

City,

3, Jason S, Ellis is an individual whose principal residence is in Utah. He is and has
at all relevant times been President and Chief Executive Officer of Spring Mobile and numerous
other Spring entities (such as Chief Executive Officer of Spring Retail Group, President of
Spring Communications, Inc., President of Spring Communications Holding, Inc., and the like)
and also President and Treasurer of Mergence. According to sworn Nevada Secretary of State
filings, Ellis is and always has been a member of the Board of Directors of Mergence since
Mergence was incorporated on August 2, 2005, Ellis is currently President and Chief Executive
Officer of Spring Mobile, which (like Mergence) is located at 3939 South Wasatch Boulevard in
Salt Lake City.

4, Though not currently named as defendants, other individuals who are important to
this action are Brett M, Bradshaw (“Bradshaw”) and Vernon G. Dickman (“Dickman”), Both
Bradshaw and Dickman have been members of the Board of Directors of Mergence since
Mergence was incorporated on August 2, 2005. Bradshaw is and has always served as

Mergence’s Secretary. Bradshaw is also currently Senior Vice President of Sales and Operations
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of Spring Mobile, which (like Mergence) is located at 3939 South Wasatch Boulevard in Salt
Lake City, Dickman is the Founder of Spring Mobile and was, as of at least 2013, a Member of
the Board of Directors and Chairman of the Board of Spring Mobile and numerous other Spring
entities,

5, On information and belief, each of Ellis, Bradshaw, and Dickman were and are
shareholders or beneficial owners of Mergence — Ellis (23.5%), Bradshaw (7.5%), and Dickman
(69%) ~ and each personally benefited from the sale of Spring in November 2013 and from the
oreaches described below.

Jurisdiction and Venue

6. Plaintiff’s claims arise under the contract attached to this Complaint as Exhibit A
(the “Contract”) and common law.

7, This Court has subject matter jurisdiction over this action pursuant to Article 6,
Section 9, of the Colorado Constitution.

8, This Court has personal jurisdiction over the Defendants because Mergence,
Spring, and Ellis have had numerous, substantial contacts with the State of Colorado and the City
and County of Denver. For example, between December 2012 and July 2013, Mergence, Spring,
and Ellis placed dozens of telephone calls and sent dozens of e-mails to Q Advisors at Q
Advisors’ offices in the City and County of Denver, These contacts related to the negotiation of
the Contract, the signing of the Contract, representations about Mergence’s and Spring’s
business activities, financial condition, and financing needs, communications with Fifth Third
bank representatives located in Denver, requests for services by Q Advisors to be provided in

Denver, and the actual provision of services in Denver by Q Advisors to Mergence and Spring
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under the Contract. Spring also substantial ongoing business operations through at least two
retail locations located in the City of County of Denver today,

9, Venue is proper in the City and County of Denver pursuant to C.R.C.P, 98(c)
because, among other things, Mergence, Spring, and Ellis requested that Q Advisors perform the
services in the City and County of Denver, the Contract was in fact performed and the services
were in fact provided by Q Advisors at Q Advisors’ offices in the City and County of Denver,
the damages have been felt and incurred by Q Advisors in the City and County of Denver, and Q
Advisors is a resident of the City and County of Denver. The financing transaction in which Q
Advisors assisted Mergence and Spring was done by the lending team of Fifth Third Bank
located in the City and County of Denver. Spring currently transacts business jn the City and
County of Denver,

Statement of Facts

10, In late 2012, Ellis and Spring’s Chief Financial Officer Kent Forsgren asked Q
Advisors to provide financial investment banking services to Mergence and Spring, including
exploring possible financing transactions for Spring.

11, In order to convince Q Advisors to enter into the Contract, Ellis informed Q
Advisors that Mergence and Spring envisioned “a larger deal with Spring all in,” meaning that
Spring would likely be sold in the future. Mergence and Spring also informed Q Advisors that
Mergence’s largest shareholder (Dickman) intended to sell Spring “within twenty-four to thirty-
six months,”

12. The parties negotiated the Contract between December 20, 2012 and January 18,

2013, Ellis, who was the President of both Mergence and Spring, and Spring’s Chief Financial
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Officer Kent Forsgren, negotiated the terms on behalf of Spring and “Mergence dba Sprint Retail
Group.” Q Advisors’ Michael Crawford (“Crawford”) negotiated on behalf of Q Advisors.

13, Ellis and Crawford each signed the Contract on or about January 18, 2013.

14, At the time Ellis signed the Contract, Ellis held himself out as an officer and agent
of Mergence Corporation and an officer and agent of Spring.

15, BINs signed the Contract as “President.”

16, At the time Ellis signed the Contract, Mergence, Ellis, and Mergence’s other
officers and directors all knew or should have known that Mergence was not legally permitted to
transact business under the law of it’s state of incorporation.

17, Unbeknownst to Q Advisors, Mergence was a Nevada corporation and
Mergence’s directors and officers had failed to follow Nevada corporate legal requirements since
at least August 2009,

18. Under Nevada law, Mergence was not permitted to transact business at the time
Ellis signed the Contract in January 2013,

19, In 2012 and 2013, Mergence held itself out as a Delaware corporation, which it
never was,

20. The Contract provides that “Mergence Corporation (dba Spring Retail Group)
(“Mergence” or the “Company”)” engaged Q Advisors “to provide financial advisory services on
an exclusive basis (the “Services”), to the Company in connection with the private placement to
qualified institutional buyers” of debt.

21, The Contract provides that Mergence would compensate O Advisors for Q

Advisors’ work,
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22, Section 15 of the Contract provides that “In the event Mergence elects to pursue a
sale or recapitalization of the Company, whether this letter is in effect or within thirty-six (36)
months of its termination, Q Advisors and Mergence shall negotiate in good faith a new
engagement letter under which Q Advisors would be the Company's exclusive financial advisor
for that assignment/transaction,” (Emphasis added in bold.)

23, — Section 15 also reflects the parties’ intent and agreement to “terms of an
engagement that are commercially reasonable and that, when taken as a whole, are not materially
inconsistent with those available at the time from investment banks or other organizations with
experience and qualifications substantially similar to those of Q Advisors.” The terms of such
engagements are well-known, and the parties themselves had a history of two other
engagements,

24, With Q Advisors’ assistance, Spring completed a debt transaction with Fifth Third
Bank in July 2013.

25, Between December 2012 and July 2013, Mergence and Spring officers and agents
sent numerous e-mails to Q Advisors in Denver, Colorado in connection with the services Q
Advisors provided under the Contract. Mergence and Spring officers and agenis placed
numerous telephone calls to Q Advisors in Denver, Colorado in connection with the services Q
Advisors provided under the Contract. Q Advisors performed substantially all the services under
the Contract at Q Advisors offices in Denver, Colorada.

26, Without telling Q Advisors, the officers and directors of Mergence and Spring
discussed the. possible sale of Spring at various times between August 2013 and November 2013,

27, Without telling Q Advisors, Mergence and Spring agreed that Spring would be

sold,
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28. Without telling Q Advisors, Mergence sold Spring to a public company named
Gamestop Corp. in November 2013 in a transaction with a total enterprise value of
approximately $97 million. Q Advisors had originally introduced Gamestop to Mergence and
Spring Retail Group in connection with an earlier transaction for Mergence and Spring in 2012,

29, Mergence and Spring never told Q Advisors that Spring was being sold at any
time before Spring was sald to Gamestop in November 2013,

30,  Mergence and Spring never negotiated a new engagement letter with Q Advisors
in connection with the November 2013 sale of Spring, as the Contract required,

31, Defendants have never paid Q Advisors any fees in connection with the
November 2013 sale of Spring,

32, Defendants have failed and refused to pay Q Advisors any fees in connection with
the November 2013 sale of Spring.

33, Ellis Knew or had reason to know that Mergence lacked capacity to do business as
of 2012 and 2013.

34, — Ellis is personally liable for the debts of Mergence under the Contract.

35, Ellis is a party to the Contract as a matter of agency and common law,

36, Mergence and Ellis have failed to pay Q Advisors what they owe under the
Contract.

First Claim for Relief
(Breach of Contract —- Mergence)

37, Plaintiff incorporates by reference all of the foregoing paragraphs.
38. The Contract between Q Advisors and Mergence is valid and enforceable,

39. Q Advisors performed its obligations under the Contract.
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40,  Mergence breached its obligation to engage and pay Q Advisors for the sale of
Spring according to the terms of the Contract.
41. Q Advisors has suffered damage because of Mergence’s breach of the Contract,

Second Claim for Relief
(Breach of Contract — Ellis)

42, Plaintiff incorporates by reference all of the foregoing paragraphs.

43. The Contract is valid and enforceable,

44, Q Advisors performed its obligations under the Contract,

45, Hillis held himself out as an agent for Mergence and Spring at the time he signed
the Contract.

46, At the time he signed the Contract and thereafter, Ellis knew or should have

known that Mergence lacked capacity to be a party fo a contract.

47, Ellis is therefore personally liable under the Contract,

48, Ellis breached his obligation to engage and pay Q Advisors for the sale of Spring
according to the terms of the Contract.

49, Q Advisors has suffered damage because of Ellis’ breach of the Contract.

Third Claim for Relief
(Breach of Covenant of Good Faith and Fair Dealing - Mergence)

50. Plaintiff incorporates by reference all of the foregoing paragraphs.

51. The Contract included an implied covenant of good faith and fair dealing.

52, Mergence breached the covenant of good faith and fair dealing by failing to
inform Q Advisors that Mergence and Spring were pursuing a sale of Spring, by failing to inform
Q Advisors that it had agreed to sell Spring, by failing to engage Q Advisors in connection with

the sale, by hiding its intentions for Spring and the implications of that sale for Q Advisors under

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the Contract, and by its bad faith failure and refusal to pay Q Advisors what it owes under the

Contract,
Fourth Claim for Relief
(Breach of Covenant Good Faith and Fair Dealing ~ Ellis)
53. Plaintiff incorporates by reference all of the foregoing paragraphs.

54, The Contract included an implied covenant of good faith and fair dealing.

55, Ellis breached the covenant of good faith and fair dealing by failing to inform Q
Advisors that Mergence and Spring were pursuing a sale of Spring, by failing to inform Q
Advisors he and others were involved in negotiating and selling Spring, by failing to engage Q
Advisors in connection with the sale, by hiding his, Mergence’s and Spring’s intentions for
Spring and the implications of that sale for Q Advisors under the Contract, and by his bad faith
failure and refusal to pay Q Advisors what he owes under the Contract.

WHEREFORE, Plaintiff requests a judgment in his favor and against Defendant,

including the following:

A, Compensatory damages;
B, Costs, as provided by applicable law; and
C, Such further and additional relief as the Court may deem just and equitable,

Jury Demand

Plaintiff demands trial by jury of all issues so triable,

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Dated: March 17, 2015 Respectfully submitted,

Ww
Coin S. Phillips #24884

Sean C. Grimsley #36422
BARTLIT BECK HERMAN PALENCHAR
& SCOTT LLP

Attorneys for Plaintiff
Address of Plaintiff O Advisors:

Q Advisors LLC
1899 Wynkoop Street, Suite 200
Denver, Colorado 80202

Document filed electronically. See C.R.C.P, 121, § 1-26. Original on file.

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District Court, City and County of Denver, Colorado
Court Address:

1437 Bannock St., Room 256

Denver, CO 80202

Plaintiff Q ADVISORS, LLC A »
and COURT USE ONLY

Defendants) MERGENCE CORPORATION and
JASON §, ELLIS
Attorney (Name and Address): Case Number:

John S, Phillips (Atty. Reg. #24884)
Sean C, Grimsley (Atty. Reg, #36422) Division Courtroom
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Denver, Colorado 80202

Phone Number: 303-592-3100
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E-mail: john .phillips@bartlit-beck.com
sean. grimsley@bartlit-beck.com
SUMMONS

COLORADO CIVIL ACCESS PILOT PROJECT FOR BUSINESS ACTIONS

The People of the State of Colorado,
To the Defendant(s) named above:

‘This action is within the Colorado Civil Access Pilot Project for Business Actions and is governed
by Chief Justice Directive 11-02 and the Rules and time periods set forth at
hitp.//www.courts,state.co.us/Courts/Civil_ Rules.cfm, Please note that the procedures and time periods are
different from those typically required,

You are lereby summoned and required to file with the clerk of this court an answer and any other
responsive pleading to the attached complaint within twenty-one (21) days after filing of Plaintiff's
initial disclosure statement. If you fail to file your answer to the compliant in writing within the applicable
time period, judgment by default may be entered against you by the court for the relief demanded in the
complaint, without any further notice.

The following documents are also served with this summons: January 18, 2013 Contract

Dated this 17" day of March, 2015,

Solan DTW

Bignajure of Attorney for Plaintiff

JDF 600.5 [2/11 Summons Colorado Civil Access Pilot Project
This summons is issued pursuant to C.R.C,P, 4 and Colorado's Civil Access Pilot Project @*CAPP”) for Business Actions, A copy
of the complaint must be served with this summons,
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Exhibit A
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QC) Advisors

An jnvestment Banking Partnership

ENGAGEMENT LETTER
January 18, 2013

Mr, Jason Ellis

Chief Bxeoutive Officer

Mergenece Corporation (dba Spring Retail Group)
3939 South Wasatch Boulevard

Bulte 1

Salt Lake Clty, UT 84124

Dear Jason:

Pursuant to our recent discussions, {am pleased to confirm the arrangements under which Mer gence
Corporation (dba Spring Retail Group), (“Mergence” or the “Company” will engage © Advisors LLC

Q-Advisors)-to-provide-financlal-advisory-serviees-on-an-excluslye-basis-(the- “Beryleos")-1 to-the
Company in connection with a private placement to qualified institutional buyers of (a) senior debt
securities (including revolving or term bank debt, hereinafter referred to as “Senior Debt”); or (b) debt
secutities that combine Senior Debt and Junior Debt into an Integrated instrament (including unitranche
debt, horeinafler referred to as “Blended Debt"), Together oz independently, th he Pf rlvate placement of
comes. ov SendorDebt or Blended.Debtis.hereinafter-refered.to.as.the SHlnaned nye. cece tencemeen neveenmnennnin es

Retention, During the term of ovr engagement, Q Advisors will provide the Company with a range
of Services in connection with the Financing, Including advice and assistance with respect to defining
funding objectives and approaching potential investors, More specifically, in connection with the
proposed Financing, Q Advisors will (a) assist the Company in developiig and preparing its business
Plan and strategy, (b) identify and contact, on a best-effort basis, potential financing sources, (0)
work with the Company to prepare marketing materials describing the Company and the Financing,
(d) recommend transaction structures and prepare or comment on term sheets, (©) assist in setting
negotiation strategies and in conducting negotiations as reasonably requested by the Company, (1)
review transaction documents, and (g) attend meetings of the Board of Directors or stockholders of
the Company when requested,

The Company shall have final determination over any information and strategies developed by Q
Advisors. In providing the Services, Q Advisors acknowledges that all terms and conditions of any
Finaneing shall be subject to the approval of the Company's management or the Board of Directors of
the Company, including, but not limited to, the type of security and the institutional investors that
participate,

During the term of this lotter agreement, the Company shal! promptly refer any potential investors
who approach the Company concerning a Financing to Q Advisors, and Q Advisors will then become -
the primary point of contact with any such Investors, >

1888 Wynkoop St., Sle, 200) Denver, CO 80202 | $03,098,0680 : Fax: 303.996.9681 + www.gife.com

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Mr. Jason Bills Confidential
January 18, 2013

2, Fees and Expenses, As we disoussed, in consideration of the Services rendered to the Company
under this letter agreement, the Company shall pay Q Advisors a monthly fee (the “Retainer") of
$10,000, billed in advance (partial months will be pro rated accordingly) and payable within 10 days
of receipt of invoice,

On consummation of the Financing, the Company shall pay Q Advisors a fee (the “Financing Feo”)
equal to (a) two percent (2.0%) of the Value of the Senior Debt; plis (b) two and three-quarters
percent (2.75%) of the Value of the Blended Debt. For purposes of this letter agreement, Value shall
mean the face amount of debt (without deducting fees or expenses) raised by the Company from third
parties in connection with the Financing, Furthermore, Vatue shall include any amounts committed to
by the Investor(s) but unused or undrawn at closing, However, If Prudential Capital (or an affiliate |
thoreof) Is the largest investor In the Senlor Debt or Blended Debt, the Financing Fee will be reduced
by ten percent (10.0%),

If the Financing cloges, Q Advisors shall receivo a Financing Fee of not less than $475,000 (the
“Minimum Fee”), except, however, if Prudential Capital (or affillates thereof) is the largest investor
in the Financing, in which case the Minimum Fee will be $425,000, Al Retainer payments shall be
credited against and reduce the Flnancing Fee,

In addition, whether or not the Financing closes, the Company will reimburse Q Advisors, on a
monthly basis, for reasonable and documented ont-of-pocket exponses incurred by Q Advisors in
connection with this letter agreement. Typically, these expensos may include travel, lodging,
telephone and outside sorvices incurred by Q Advisors. Jn no event shall Q Advisors incur any single

expense in-excess of $2,000-without-the-prior-consent-of the Company:-Q-Advisors-anticipates-that-—————-—-—. J
monthly reimbursable expenses will not be greater than $4,000, and it will make a good-faith effort to
promptly alert Mergence, if lt expects expenses to exceed that lével,

3, Termination, Services hereunder may be terminated with or without cause by either party at any
time.on 30 days’ written.notice.and without. lability. or.continuing obligation to. the other (except, for
ahy compensation earned and expenses inourred by Q Advisors to the date of termination, including
without limitation Financing Pees and except, in the case of termination by the Company for any
reason other than the material breach of this agreement by Q Advisors, for Q Advisors’ right under
the “tail” provisions described immediately heveafter In this Section 3), After termination of O
Advisors’ engagement for any reagon other than the material breach by Q Advisors, Q Advisors will
provide the Company with a true and correct list of partles with whom Q Advisors, on Mergence’s
behalf, has been in contact regarding the Financing (“Tail List”), If within twelve (12) months
following the terminatlon of Q Advisors’ engagement, the Company (4) closes a Financing or (b) a)
enters Into a Letter of Intent, Memorandum of Understanding, or substantially slmilar agreement
(even if such agreement is non-binding) deseribing key terms and conditions of a Financing and (b)
(il) closes a Financing with that same entity, or an affiliate thereof (whether or not thet closing occurs
within the twelve (12) months referenced above) and the Financing is with any party who is on the
Tall List, Q Advisors shall be entitled, as applicable, (o the Financing Pee as set forth above.
Notwithstanding any termination of this letter agreement, the numbered paragraphs 2, 3, 5, 6 and 15
herein will vernain operative regardless of any such termination,

4, Independent Contractor, Q Advisors will act under this letter agreement as an independent
contractor with dutles solely to the Company, and nothing herein shall be construed aa creating any
other relationship between the Company and Q Advisors hereto including, but not Hinited to,
partnership, agency or joint venture. The relatlonship between Q Advisors and the Company under
this letter agreement shall be solely that of consultant and client, The Company, its agents,
employses, representatives or affillates shall under no circumstance be med agents or

Page 2 of 7

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Mr, Jason Ellis Confidential
January 18, 2013

representatives of Q Advisors, Neither Q Advisors nor Its agents, employees, representatives or
affiliates, shall be deemed for any purpose to be employees of the Company, Furthermore, it is
understood that Q Advisors is being engaged hereunder solely to provide the Services described
above to the Company and that Q Advisors is not acting as an agent or fiduciary of, and shell have no
duties or lability to, the directors or equity holders of the Company or any other third party in
connection with its engagement hereunder, all of which are expressly waived, Any purchases of
securities from, or other transactions involving, the Company shall be effected by the Company. Q
Advisors and its employees, agents and representatives shall have no authority to bind the Company.
Q Advisors understand that the Company may modify, suspend, terminate or withdraw entirely any
Financing transaction or efforts to pursue such a transaction at any time.

5. General Indemnity, The Company agrees to indemnify Q Advisors and its members, directors,
officers, agents and employees (oach, an “Indemnified Party”) of and from any losses, actions, claims,
damages or labillties (or actions in respect thereof) resulting from any claim raised by a third party
relating to or arising out of the performance of the Services noted heroundor, other than the gross
negligenoe or wilful misconduct by an Indemnified Party, and will reimburse the Indemnified Party
hereunder for all expenses (Including reasonable attorneys’ fees and expenses) reasonably inourred by
the Indemnified Party in connectlon with investigating, preparing or defending any such actlon or
claim, Tho Company agrees that neither Q Advisors nor any Indemnified Party shall have any
liability to the Company for or in connection with this engagement except for any such liability for
losses, actions, claims, damagas, Ifabilitles or expenses incurred by the Company that result from Q
Advisors’ gross negligence or wilful misconduct. In the event that an indemnifiable claim arises
hereunder; the Indemnified Party shall give prompt written notice of the claim to the Company and
the Company shall have the right to assume the defense of such clalm provided that there is no
eonfiict-of interest-betwoen-the-Company;- on-the-ene-kand;-and-the-Indemnified-Party-on-the-other—--——. on sesenref een

hand, The Company will not settle any actlon by a third party against any Indemnified Party relating
to this engagement without securing appropriate releases or other protection for such Indemnified
Party. No Indemnified Party will settle any action without the consent of the Company, which
consent shall not be unreasonably withheld.

If the indenmificatlon provided for In the preceding paragraph shall for any reason be unavailable to
an otherwise Indomnified Party, then the Company shall, in Heu of indemnifying such Indemnified
Party, contribute to the amount paid or payable by such Indemnified Party (4) in such proportion as
shall be appropriate to reflect the relative benefits received by the Company on the one hand and Q
Advisors on the other from the engagement or the Financing or (b) if the allocation provided by
clause (a) Is not permitted by applicable law, in such proportion as is appropriate to reflect not only
the relative benefits referred to in clause (a) but also the relative fault of the Company on the one
hand and Q Advisors on the other with respect to the conduct or omission which resulted in a loss,
action, claim, damage or liability, or action in respeot thereof, as well as any other relevant equitable
considerations, The relative benefits recelved by the Company on the one hand and © Advisors on
the other wlth respect to the Financing shall be deemed to be in the same proportion es the aggregate
consideration or value received by the Company in the Financing (as the same may be reduced by
damages incurred as a result thereof) bears to the Financing Fee received by Q Advisors under this
letter agreement. Under no cireumstances shall Q Advisors or any Indemnified Party be liable for any
indireot, consequential, incidental, special, punitive or exemplary damages arlsing from any losses,
actions, claims, damages or {liabilities (or actlans In respect thereof) resulting from airy claim raised
by a third party relating to or arising out of the performance of the Services, regardless of whether Q
Advisors has been apprised of the likelihood of such damages occurring,

In the event the Company requests that Q Advisors deliver certain documents and information
relating to this engagement via electronic transmissions, the Company acknowledges and agrees that

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January 18, 2013

the privacy and integrity of electronic transmissions cannot be guaranteed due to the possibility that
third parties could intercept, view or alter such clectronic transmissions, To the extent that any
documents or information relating to this engagenient are transmitted electronically, the Company
agrees to release Q Advisors from any loss or liability incurred im connection with the electronic
transittission of any such documents and Information, including the unauthorized interception,
alteration or fraudulent generation and transmission of electronic transmissions by third parties.
Under no cireumstances shall Q Advisors be Hable for any ordinary, direot, indirect, consequential,
incidental, special, punitive or exemplary damages arising out of the foregoing, regardless of whether
Q Advisors has been apprised of the likelihood of such damages occurring.

6. ReHance on Information: Confidentlality, The Company understands and confirms (a) that Q
Advisors will be using and relying on data, material and information about the Company furnished to
Q Advisors by the Company, its employees and representatives and (b) that Q Advisors does not
agsuine responsibility for independently verifying such information, The Company hereby represents
and warrants to Q Advisors that the information furnished by the Company for the purposes
contemplated by this letter agreement will not contain any untrue statement of a inaterial fact or omit
to state any material fact necessary to make statements therein not misleading.

Any advice or opinions provided-by Q Advisors may not be disclosed or referred to publicly or to any
third party except in accordance with Q Advisors’: prlor written consent, which shail not be
unreasonably withheld or denied, or ag required by law or regulation. Q Advisors acknowledges that
all information about the Company, its business, operations and customers that Q Advisors and its
representatives learn in any way and from any source as a result of this letter agreement constitutes a
trade secret, or 1s confidential or proprietary to the Company (the “Confidential Information”), Q
Advisors Shall Tessive Bid “hold sich Conhaenar ifarmation in confidence, shall Told the same iit
trust, shall not disclose or furnish the same to any third party without the Company's prior written
consent, and shall not use the same for any purpose other than the performance of its obligations
under this letter agreement or otherwise in direct connection with the operation of this letter
agreement, Notwithstanding the foregoing, Confidential Information shall aot encompass
information about the Company that is or becomes publicly available through no fault of Q Advisors’,
is already lawfully in Q Advisors’ possession, is Independently developed by Q Advisors, or is
logitimately and lawfully obtained by Q Advisors ftom third parties not under obligations of
contfidentiallty to the Company,

Upon termination of this letter agreement, Q Advisors shall return or, at the discretion of the
Company, destroy all the Company's Confidontlal Information in its care, custady or control that is
capable of being retrieved for such purpose(s) without undue burden to Q Advisors, with the
exception of any materials required to be kept for FINRA or other regulatory purposes,

Q Advisors acknowledges that the Confidential Information under this letter agreement constitutes
unique, valuable and special trade secret and business information of the Company, and that
disclosure may cause Itreparable injury to the Company, Accordingly, Q Advisors agrees that the
vemedy at law for awry breach of the covenants contained In this paragraph 6 may be inadequate, and
in recognition, agrees that the Company shall, in addition, be entitled to seek injunctive relief without
bond including reasonable attorneys' fees and other court costs and expenses, in the event of a breach
or threatened breach of the provisions of this paragraph 6, which relief shall be in addition to and not
in derogation of any other remedies which may be available to the Company as a result of such
breach,

7, Notices, Notice given pursuant to any of the provisions of this letter agreement shall be in writing
and shall sent by overnight delivery by an internationally recognized delly company or hand.

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delivered (a) to the Company at the address set forth above, to the attention of Mr, Jason Ellis, and (b)
to Q Advisors at 1899 Wynkoop Street, Ste, 200, Denver, Colorado 80202, Attention: Mr, Michael
Crawford, Parties may change the foregoing addresses with a prior written notice to the other party.

8 Construction, This letter agreement shall oe governed by and construed in accordance with the laws
of the State of Utah as applied to contracts made and performed in such State, exclusive of Utah’s
choice of law provisions,

?, Severability, Any determination that any provision of this letter agreement may be, or is,
unenforceable shall not affect the enforceability of the remainder of this letter agreement,

10, Headings, Tho paragraph headings in this letter agreement have been inserted as a matter of
convenience of reference and are not part of this letter agreement.

11, Counterparts, This letter agreement may be executed In two or more counterparts, each of which
shall be deemed an original, but all of which taken together shall constitute one and the same
instrument. This letter agreement may be executed by facsimile,

12. Third Party Beneficiaries, This letter agreement has been and is made solely for the benefit of the
Company and Q Advisors and their respective successors and permitted assigns, and no other porson
shall acquire or have any right under or by virtue of this letter agreement,

13, Modification, This letter agreement may not be modified, amended or assigned except in writing,
duly executed by the parties hereto.

14, Announcements, It is understood that if a Financing is completed, Q Advisors will be entitled, at its
expense, to place an annouticement in such publications and mailings as Q Advisors desires, stating
that Q Advisors has acted as financial advisor to the Company in connection with the Financing, Any
such announcements shall be subject to the Company's approvel, which shall not be unreasonably
withheld or delayed,

15, Future Sale or Reeapitalization, In the event that Mergence elects to pursue a sale or

recapitalization of the Company, whether while this letter is in effect or within thirty six (36) months '

of its termlnation, Q Advisors and Mergence shall negotiate in good faith a new engagement letter
under which Q Advisors would be the Company’s exclusive financial advisor for that
assignmentiransaction, ‘The intent of both parties would be to agree to terms of an engagement that
are commercially reasonable and that, when taken as a whole, are not materially Inconsistent with
those avallable at the time from investment banks or other organizations with experience and

qualificutions substantially similar to those of Q Advlacrs,

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Jongary BAF, 2013
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ifthe terms of our engagement as set forth in this letter are satlsfactory, kindly sign the enclosed copy of
this letter agreement and return It to us. We Sook forward to working with the Company on this
assignment,

Very truly yours,

Q ADVISORS LLC, a Colorado limited fability company

By; Q Consulting & Advisors Inc,, Manager

6 BR

chael Crayton wie Vice President

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Title: ( fh Losier

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